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 Bradley S. Shraiberg (FL 121622)
 (pending pro hac vice)
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 Counsel for TCA Global
 Credit Master Fund, LP

                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

 In re:                                                            § Chapter 11
                                                                   §
 ZENERGY BRANDS, INC., et al.,1                                    § Case No. 19-42886
                                                                   §
                  Debtors.                                         § (Joint Administration Requested)

                    APPLICATION OF BRADLEY S. SHRAIBERG FOR
                   ADMISSION PRO HAC VICE TO REPRESENT TCA
                       GLOBAL CREDIT MASTER FUND, L.P.

         1.       This application is being made for the following: Consolidated Case No. 19-

42886.

         2.       Applicant is representing TCA Global Credit Master Fund, L.P. (“Secured

Creditor”).

         3.       Applicant was admitted to practice in the U.S. District Court, Southern District

of Florida on October 24, 1997.

         4.       Applicant is in good standing and is otherwise eligible to practice law before this

court.

 1
   The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, are: Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899); Zenergy Labs, LLC
 (8045); Zenergy Power & Gas, Inc. (1963); Enertrade Electric, LLC (8649); Zenergy & Associates, Inc. (4022); and
 Zen Technologies, Inc. (7309). The above-captioned Debtors’ mailing address is 5700 Grante Pkwy, #200, Plano,
 TX 75024.




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        5.      Applicant is not currently suspended or disbarred in any other court.

        6.      Applicant has not had an application for admission to practice before another

court denied.

        7.      Applicant has not ever had the privilege to practice before another court

suspended.

        8.      Applicant has not been disciplined by a court or Bar Association or committee

thereof that would reflect unfavorably upon applicant’s conduct, competency or fitness as a

member of the Bar.

        9.      Applicant has no history of charges, arrests or convictions for criminal offenses.

        10.     There are no pending grievances or criminal matters pending against the

applicant.

        11.     Applicant has been admitted to practice in the following courts: U.S. District

Court, Southern and Middle Districts of Florida, and U.S. Bankruptcy Court, Southern and Middle

Districts of Florida.

        12.     Applicant has read and will comply with the Local Rules of the Eastern District of

Texas, including Rule AT-3, the “Standards of Practice to be Observed by Attorneys.”

        13.     Applicant understands that he is being admitted for the limited purpose of

appearing in the case specified above only.




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 Application Oath:

        I, Bradley S. Shraiberg do solemnly swear that the above information is true; that I

 will discharge the duties of an attorney and counselor of this court faithfully; that I will

 demean myself uprightly under the law and the highest ethics of our profession; and that I

 will support and defend the Constitution of the United States.


 Dated: October 28, 2019                                Signature:         /s/ Bradley S. Shraiberg
                                                                           Bradley S. Shraiberg

      Name:                       Bradley S. Shraiberg
      Bar Number/State:           121622 / Florida
      Firm Name:                  SHRAIBERG, LANDAU & PAGE, P.A.
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